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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

   JOSEPH TAYLOR,
                                         1:19-cv-21299-NLH
                   Plaintiff,
                                         MEMORANDUM OPINION & ORDER
        v.

   COMMISSIONER OF SOCIAL
   SECURITY,

                   Defendant.


APPEARANCES:

JOSEPH TAYLOR
1170 COLLINGS RD
CAMDEN, NJ 08104

     Appearing pro se

HILLMAN, District Judge

     WHEREAS, this matter is before the Court pursuant to

Section 205(g) of the Social Security Act, as amended, 42 U.S.C.

§ 405(g), regarding Plaintiff’s request to reinstate social

security benefits for his daughter’s claim under Title II of the

Social Security Act, 42 U.S.C. § 401, et seq.; and

     WHEREAS, on December 17, 2019, the Court granted

Plaintiff’s application to proceed without prepayment of fees

(“IFP application”); and

     WHEREAS, the Court also ordered the clerk to issue a

summons, and the U.S. Marshal to serve a copy of the complaint,
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summons and the order upon the Commissioner 1 (Docket No. 2); and

       WHEREAS, in order for the U.S. Marshal to serve Plaintiff’s

complaint, on December 17, 2019, the clerk sent a letter




1   See Fed. R. Civ. P. 4(i):

(i) Serving the United States and Its Agencies, Corporations,
Officers, or Employees.

       (1) United States. To serve the United States, a party
       must:
             (A)(i) deliver a copy of the summons and of the
             complaint to the United States attorney for the
             district where the action is brought—or to an
             assistant United States attorney or clerical employee
             whom the United States attorney designates in a
             writing filed with the court clerk—or
             (ii) send a copy of each by registered or certified
             mail to the civil-process clerk at the United States
             attorney's office [For the District of New Jersey, see
             POMS GN 03106.020 Service of Process, the service
             address is Office of the Regional Chief Counsel,
             Region III, Social Security Administration, 300 Spring
             Garden Street, 6th Floor, Philadelphia, PA 19123-
             2932.];
             (B) send a copy of each by registered or certified
             mail to the Attorney General of the United States at
             Washington, D.C.; and
             (C) if the action challenges an order of a nonparty
             agency or officer of the United States, send a copy of
             each by registered or certified mail to the agency or
             officer.
             (2) Agency; Corporation; Officer or Employee Sued in
             an Official Capacity. To serve a United States agency
             or corporation, or a United States officer or employee
             sued only in an official capacity, a party must serve
             the United States and also send a copy of the summons
             and of the complaint by registered or certified mail
             to the agency, corporation, officer, or employee. [See
             20 C.F.R. § 423(a), the General Counsel, Social
             Security Administration, Room 611, Altmeyer Building,
             6401 Security Boulevard, Baltimore, MD 21235.]


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enclosing a USMS Form 285 (“285 form”) to Plaintiff, explaining

“USMS will NOT serve the summons and complaint unless it

receives a form for that defendant,” and that it must be

returned to the clerk’s office within 30 days (Docket No. 3);

and

       WHEREAS, the letter further explained that Plaintiff’s

complaint must be served within 90 days, either by the USMS or

on his own; 2

       WHEREAS, on January 31, 2020, the clerk filed a

certification by the USMS stating that Plaintiff had failed to

return the 285 form, and service on Defendant could not be

effected (Docket No. 4); and

       WHEREAS, because Plaintiff had failed to contact the Court

or otherwise prosecute his case since he filed it on December

12, 2019, the Court issued an Order to Show Cause on May 7, 2021

as to why the Court should not dismiss the action without

prejudice pursuant to Fed. R. Civ. P. 4(m) for lack of service


2   Fed. R. Civ. P. 4(m) provides, in relevant part:

       Time Limit for Service. If a defendant is not served within
       90 days after the complaint is filed, the court - on motion
       or on its own after notice to the plaintiff - must dismiss
       the action without prejudice against that defendant or
       order that service be made within a specified time. But if
       the plaintiff shows good cause for the failure, the court
       must extend the time for service for an appropriate period
       . . .



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(Docket No. 5);    and

     WHEREAS, Plaintiff has failed to respond to the Court’s

Order to Show Cause, and he has not otherwise contacted the

Court since his initial complaint was filed;

     THEREFORE,

     IT IS on this       30th     day of     September      , 2021

     ORDERED that Plaintiff’s complaint be, and the same hereby

is, DISMISSED without prejudice pursuant to Fed. R. Civ. P. 4(m)

for lack of service.



                                            s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




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